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7
     Attorneys for Plaintiff
8    APPLE INC.
9
10                                 UNITED STATES DISTRICT COURT

11                              NORTHERN DISTRICT OF CALIFORNIA

12                                          SAN FRANCISCO DIVISION

13
14   APPLE INC., a California corporation,                Case No. 3:21-cv-01707-EMC

15                             Plaintiff,                 JOINT STATUS REPORT

16          v.                                            DATE:     May 31, 2022
                                                          TIME:     2:30 p.m.
17   SIMON LANCASTER, an individual,                      JUDGE:    Hon. Edward M. Chen

18                             Defendant.

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                                                                                JOINT STATUS REPORT
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                                                                           CASE NO. 3:21-CV-01707-EMC
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1            Pursuant to the Court’s Order (Dkt. 51), Plaintiff Apple Inc. and Defendant Simon
2    Lancaster respectfully submit this Joint Status Report.
3            The parties are engaged in discovery. Defendant produced documents responsive to
4    Apple’s first set of requests for production on May 6, 2022 and May 13, 2022. Apple produced a
5    second set of documents responsive to Defendant’s first set of requests for production on May 16,
6    2022.
7            The parties anticipate that they will be able to complete fact and expert discovery on the
8    schedule currently set by the Court.
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                                                                            CASE NO. 3:21-CV-01707-EMC
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1    Dated:   May 24, 2022                   O’MELVENY & MYERS LLP
2                                            /s/ David R. Eberhart
                                             David R. Eberhart
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                                             San Francisco, CA 94111
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6                                            Attorneys for Plaintiff Apple Inc.
7
8    Dated:   May 24, 2022                   RIMON, P.C.
9                                            /s/ Scott R. Raber
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                                             San Francisco, CA 94111
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                                                                 CASE NO. 3:21-CV-01707-EMC
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1                                           ATTESTATION
2           Pursuant to Civil Local Rule 5-1(i)(3) regarding signatures, I attest that concurrence in
3    the filing of this document has been obtained from the other party signatories.
4           Dated: May 24, 2022                                 /s/ David R. Eberhart
                                                                David R. Eberhart
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